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UNITED STATES DISTRICT COURT 2 = Ww?

WESTERN DISTRICT OF TENNESEE <3... = Mm

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UNITED STATES OF AMERICA, ) No. 10-201941-01-MA ge R ie

> 2

Respondent, )
Vs. )
WILLIAM HARNESS, )

Defendant-Movant. )

MOTION FOR REDUCTION OF SENTENCE
TITLE 18, UNITED STATES CODE
SECTION § 3582(c) (2)

COMES NOW, defendant William Harness, (Movant) pro se, and
respectfully moving this Court for an Order reducing the
sentence, pursuant to 18 U.S.C. § 3582, previously imposed in

the above-entitled and numbered cause, shows the Court that:
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NATURE OF PROCEEDING

This motion is brought pursuant to 18 U.S.C. § 3582 (c)

 

(2), which allows that:

“ (2) in the case of a defendant who has been sentenced to
a term of imprisonment based on a sentencing range that has
subsequently been lowered by the Sentencing Commission pursuant
to 28 U.S.C. § 944 (0), upon motion of the defendant... the court
may reduce the terms of imprisonment, after considering the

factors set forth in section 3553 (a) [ 18 USC § 3553 (a)] to

the extent they are applicable, if such reduction is consistent

with applicable policy statements issued by the Sentencing

Commission.”

 
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_ STATEMENT OF CASE AND FACTS

Defendant-Movant Witliam Harness —_ was convicted, upon a plea of

guilty , for a violation of the Federal Controlled Substances Act (CSA).

On 01-26-2012 , Movant was sentenced to a term of 57 monthsin the
Federal Bureau of Prisons (BOP), and Movant has been imprisoned since then.

. Notably, the Court imposed a total sentence of 57. months. Movant did not appeal

the conviction or sentence.

At time of sentencing, the Court, based upon the Presentence Report (PSR),
found that Movant’s offense level was with a corollary criminal history category of

III ‘resulting in a sentence range of 57 month’s-minimum, to 77 months maximum.

As noted above, the Court determined a sentence of 57months was

appropriate, and imposed sentence accordingly. [USDJ MAY ]

The Sentencing Commission has since lowered the applicable drug table,
and Movant’s new offense level is 27 juxtaposed to a Criminal History Category,

reveals a new sentence range of46 to 57 months. See USSG Chapter 5, Tables.

During the interim, in the course of Movant’s imprisonment, he has availed

himself to numerous volunteer education courses, and is presently awaiting

enrollment in the BOP’s intense Residential Drug Treatment Program, 18 U.S.C. §

3621, while completing each of the Court’s mandated program and core needs.

 
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As well, Movant has maintained an infraction free disciplinary record, and

receives stellar progress reviews and reports. [See attached exhibits, Educational

and Disciplinary BOP “Sentry Reports”. ]

In sum, it is respectfully submitted that the change in the Drug Tables, which
effectively have lowered the Movant’s post-sentence rehabilitation, strongly
militate in favor of this Court’s exercise of discretionary powers to reduce

Movant’s BOP term to a period of 4smonths, instanter.

 
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DISCUSSION

The Sentencing Commission lowered the offense levels in the

drug table by two levels.

As such, Movant’s base offense level is susceptible toa:

vertical reduction of two (2) points, and resentencing to a

lesser term of imprisonment.

Importantly, the Court is directed to Section § 1B1.10 of

the Guidelines by operation of 18 U.S.C. § 3582 (c) (2), and the

Court is in no way constrained as to what information it may

rely on in determining a new sentence. See: 18 U.S.C. § 3661,

‘and see: Pepper V. United States, U.S. , 131 S.Ct. 1229

(2011)

Herein, Movant has maintained an exemplary disciplinary
record in the BOP, and has attended, and successfully completed
all Court mandated treatment and rehabilitative programs. .
Likewise, Movant has voluntarily enrolled in, and completed a
number of Adult Continuing Education (ACE) courses in the BOP,

as well as maintaining enrollment in educational schooling thru
completion.

Moreover, Movant has extensive family ties, community ties,

and arranged for support and outpatient drug abuse education and

 
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therapy upon release from incarceration. Parenthetically, the

programs which Movant has completed have been demonstrated to

significantly reduce the risk of return rate based upon any

recidivist behavior and conduct.

Lastly, as the Supreme Court said in Pepper, supra,
consideration of post-sentence rehabilitation evidence'is in

fact relevant to several of the 18 USC § 3553 (a) factors and

could support a downward variance.

Because the Sentencing Commission has changed the drug
tables, by reducing same 2 points, and because Movant has
clearly availed himself of all available post-sentence
rehabilitation programs offered in BOP, it is respectfully
submitted that a reduction of the term of imprisonment, at the

low-end of the newly derived offense level is indicated.

 
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CONCLUSION

Wherefore, Movant Wiliam Harness prays that

this court grant this motion, and

A. Issue a corrected judgment pursuant to Fed. R.

Crim. Proc. Rule § 36, whereby Movant neceives full
Credit as of 1-26-2012; on the sentence is connected to be 32 months
prospectively as of 2-25-2014 due to BOP'sS inability to credit time spent
4n State of TN Custody;

B. Grant such other and further relief as the court

may deem just and proper.

Signed under the penalty and perjury i tr nis day

of August 2014,

MICHAEL JOSEPH MILLER 2, —— -5

Notary Public - Seal , William Harness
State of indiana

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Vermiition County Pro Se
My Commission Expires Feb 26, 2022 POB 33

Terre Haute, IN 47808

 

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